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 2
 3
                                                   HONORABLE BARBARA J. ROTHSTEIN
 4
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 6
 7
 8
 9                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
10
                                      AT SEATTLE
11
     SIERRA CLUB, et al.,                      )
12                                             )      No. C11-1759BJR
13                 Plaintiffs,                 )
                                               )      CONSENT DECREE BETWEEN
14          and                                )      PLAINTIFFS, PLAINTIFF-
                                               )      INTERVENOR, AND DEFENDANTS
15   THE SPOKANE TRIBE OF INDIANS,             )
16                                             )
                  Plaintiff-Intervenor,        )
17                                             )
18     v.                                      )
                                               )
19   MICHELLE PIRZADEH, ACTING                 )
     REGIONAL ADMINISTRATOR OF THE             )
20   ENVIRONMENTAL PROTECTION                  )
21   AGENCY, et al.,                           )
                                               )
22                 Defendants,                 )
                                               )
23
            and                                )
24                                             )
     SPOKANE COUNTY; KAISER                    )
25   ALUMINUM WASHINGTON LLC; and              )
26   STATE OF WASHINGTON                       )
     DEPARTMENT OF ECOLOGY,                    )
27                                             )
                   Defendant-Intervenors.      )
28   ____________________________________      )
29
     CONSENT DECREE                       -1                    David J. Kaplan.
                                                       United States Department of Justice
     Case No. C11-1759BJR                                Environmental Defense Section
                                                                 P.O. Box 7611
                                                             Washington D.C. 20044
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            WHEREAS, this Consent Decree is between Plaintiffs Sierra Club and Center for
 1
 2   Environmental Law & Policy (collectively “Sierra Club/CELP” or “Plaintiffs”), Plaintiff-

 3   Intervenor Spokane Tribe of Indians (“the Tribe”), and Defendants Michelle Pirzadeh, the Acting
 4
     Regional Administrator of the Environmental Protection Agency, et al., (collectively “EPA”);
 5
            WHEREAS, in this lawsuit, Plaintiffs and the Tribe allege, among other things, that
 6
 7   based upon an alleged constructive submission by the Washington State Department of Ecology

 8   (“Ecology”), EPA has a nondiscretionary duty under Section 303(d) of the Clean Water Act to
 9
     approve or disapprove and, upon disapproval, issue Total Maximum Daily Loads (“TMDLs”) for
10
     polychlorinated biphenyls (“PCBs”) for certain segments of the Spokane River, the Little
11
12   Spokane River, and Lake Spokane (Long Lake) in Washington State, which are all listed as

13   impaired for PCBs;
14          WHEREAS, in 2006, Ecology prepared and distributed for stakeholder review draft PCB
15
     TMDLs for certain PCB-impaired segments of the Spokane River, Little Spokane River, and
16
     Lake Spokane (Long Lake) in Washington State, but subsequently stopped work on and issuance
17
18   of PCB TMDLs for those segments;
19          WHEREAS, this Court has previously issued rulings on a number of dispositive motions
20
     in this case, including the Court’s March 16, 2015 decision, in which the Court found that
21
     Ecology had prioritized development of PCB TMDLs for the referenced PCB-impaired segments
22
23   and that at the time Ecology had come “dangerously close” to a constructive submission for

24   those impaired segments;
25
            WHEREAS, Plaintiffs and the Tribe allege, among other things, that in the intervening
26
     years, Ecology has constructively submitted no PCB-TMDLs for these impaired segments; and
27
28
29
      CONSENT DECREE                       -2                            David J. Kaplan.
                                                                United States Department of Justice
      Case No. C11-1759BJR                                        Environmental Defense Section
                                                                          P.O. Box 7611
                                                                      Washington D.C. 20044
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            WHEREAS, Plaintiffs, the Tribe, and EPA (collectively the “Parties”) intend to resolve
 1
 2   Plaintiffs’ and the Tribe’s claims and this lawsuit without any further adjudication and without

 3   any admission of any issue of fact or law.
 4
            NOW THEREFORE, it is hereby ordered, adjudged, and decreed as follows:
 5
            1)      EPA shall issue PCB TMDLs for the following PCB-impaired
 6
 7   water segments Assessment Units in the Spokane River, the Little Spokane River, and/or Lake

 8   Spokane (Long Lake) located in Washington State (or as these same PCB-impaired Assessment
 9
     Units have been or may be subsequently renumbered by the Washington State Department of
10
     Ecology): 17010305000009; 17010305000010; 17010305000011; 17010305000012;
11
12   17010307000010; 17010307000774; 17010307009102; 17010307009615; 17010308000018;

13   47117H513; 47117I6C1; 47117I7D4; 47117I8C2; 47117I5A4; 47117H5J8; 47117I7E2;
14   47117I7D3; 47117I7B9 and 47117I5A5. EPA shall issue the TMDLs by a deadline of
15
     September 30, 2024. For purposes of this Consent Decree, TMDL has the meaning provided at
16
     40 C.F.R. § 130.2(i) as of the date of entry of this Decree.
17
18          2)      Until this Consent Decree terminates pursuant to paragraph 15, EPA shall file
19   status reports with the Court every 180 days to apprise the Parties and the Court of EPA’s
20
     progress satisfying the requirement in paragraph 1 and of the work EPA intends to undertake
21
     during the next 180 day period.
22
23          3)      The Parties recognize that circumstances may arise that warrant the modification

24   of the September 30, 2024, deadline in paragraph 1 above. The deadline may be extended by
25
     written agreement of Plaintiffs, the Tribe, and EPA, with notice provided to the Court. To the
26
     extent the Parties are not able to agree to an extension of the deadline in paragraph 1 of this
27
28
29
      CONSENT DECREE                        -3                               David J. Kaplan.
                                                                    United States Department of Justice
      Case No. C11-1759BJR                                            Environmental Defense Section
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     Consent Decree, EPA may seek a modification of the date in accordance with the procedures
 1
 2   specified below.

 3                 a.      If EPA files a motion requesting a modification of the September 30, 2024
 4
            deadline in paragraph 1 by more than 30 days but less than 91 days (that is, to no later
 5
            than December 29, 2024), provides notice to Plaintiffs and the Tribe at least 30 days prior
 6
 7          to filing such motion, and files the motion at least 60 days prior to the deadline in

 8          paragraph 1, then the filing of such motion shall automatically extend the date in
 9
            paragraph 1. Such automatic extension shall remain in effect until the earlier of (i) a
10
            dispositive ruling by this Court on such motion, or (ii) the date (or number of days)
11
12          sought in the motion (that is, to no later than December 29, 2024).

13                 b.       If EPA files a motion requesting a modification of the September 30,
14          2024 deadline in paragraph 1 by 30 days or less (that is, to no later than October 30,
15
            2024), provides notice to Plaintiffs at least 15 days prior to the deadline in paragraph 1,
16
            and files the motion at least 7 days prior to the date for which modification is sought, then
17
18          the filing of such motion shall automatically extend the deadline in paragraph 1. Such
19          extension shall remain in effect until the earlier of (i) a dispositive ruling by this Court on
20
            such motion, or (ii) the date (or number of days) sought in the motion (that is, to no later
21
            than October 30, 2024).
22
23                 c.       EPA may, after conferring with Plaintiffs and the Tribe, file a motion for

24          a modification of the deadline in paragraph 1 without providing notice and satisfying the
25
            advance filing requirements pursuant to subparagraphs 2(a) or 2(b). No automatic
26
            extension will be given if EPA seeks an extension under this subparagraph, although EPA
27
28          may move the Court for a stay of the deadline in paragraph 1.

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      CONSENT DECREE                        -4                              David J. Kaplan.
                                                                   United States Department of Justice
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 1
 2           4)      Any provision of this Consent Decree, including paragraph 1, may otherwise be

 3   modified (a) in a written agreement of Plaintiffs, the Tribe, and EPA, with notice provided to the
 4
     Court or (b) by the Court in accordance with Fed. R. Civ. P. 60(b), provided that the movant for
 5
     such relief first confers with the other Parties prior to filing its motion.
 6
 7           5)      Before Plaintiffs or the Tribe may file a motion to enforce any requirement of this

 8   Consent Decree, that party shall provide EPA with no less than 30 days advance written notice of
 9
     the basis for any alleged non-compliance and an opportunity to meet to discuss this matter.
10
             6)      Nothing in this Consent Decree shall be construed to otherwise confer upon this
11
12   Court jurisdiction to review any decision, either procedural or substantive, made by EPA

13   pursuant to this Consent Decree, including the PCB TMDLs issued by EPA, except for the
14   limited purpose of determining EPA’s compliance with any requirement of this Consent Decree.
15
     The Parties agree that Plaintiffs’ and the Tribe’s sole remedy should they dispute the PCB
16
     TMDLs EPA issues pursuant to this Consent Decree is to challenge EPA’s action issuing those
17
18   TMDLs in a new lawsuit. EPA reserves all its defenses to any such suit or suits.
19           7)      Plaintiffs and the Tribe reserve the right to seek an award of reasonable attorneys’
20
     fees and costs under the Clean Water Act fee-shifting provision, and EPA reserves the right to
21
     contest any such fees and costs claimed by Plaintiffs or the Tribe. In the event that such a claim
22
23   for fees and costs cannot be resolved through a separate settlement, Plaintiffs and the Tribe may

24   file petitions with the Court for the award of such fees and costs no later than 165 days after the
25
     effective date of this Consent Decree. Plaintiffs and the Tribe may file such petitions before
26
     such time if the Parties agree that a fee settlement cannot be reached.
27
28           8)      No provision of this Consent Decree shall be interpreted as or constitute a

29
      CONSENT DECREE                          -5                              David J. Kaplan.
                                                                     United States Department of Justice
      Case No. C11-1759BJR                                             Environmental Defense Section
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     commitment or requirement that the United States or EPA obligate or pay funds in contravention
 1
 2   of the Anti-Deficiency Act, 31 U.S.C. § 1341. Except as explicitly provided for in this Consent

 3   Decree, nothing in this Consent Decree shall be construed to curtail the discretion afforded EPA
 4
     under the Clean Water Act or the Administrative Procedure Act.
 5
            9)      This Consent Decree is the product of good faith, arm’s length negotiations by the
 6
 7   Plaintiffs, the Tribe, and EPA. Each of these Parties contributed to its drafting. In any dispute

 8   over the meaning of any provision of this Consent Decree, Plaintiffs, the Tribe, and EPA shall be
 9
     treated as having contributed equally to the drafting of that provision.
10
            10)     This Consent Decree represents the full and final resolution of any and all claims,
11
12   known or unknown, that have been, could have been, could now be, or could hereafter be

13   asserted by Plaintiffs and the Tribe under any federal, state, or local law or regulation against
14   EPA in connection with (a) the assertions in Plaintiffs’ Third Supplemental Complaint (Dkt. 213)
15
     and the Tribe’s Fourth Amended Complaint (Dkt. 226), (b) any assertions that PCB TMDLs are
16
     required for the PCB-impaired segments of the Spokane River, the Little Spokane River, and
17
18   Lake Spokane (Long Lake) in Washington State specified in paragraph 1 above, (c) any
19   assertions that EPA’s prior Plan for addressing PCBs in the Spokane River (Dkt. 129-1), or
20
     alleged actions or inactions by EPA with regard to or based on that Plan, are arbitrary,
21
     capricious, contrary to law, or otherwise subject to judicial compulsion, and (d) all claims that
22
23   would have been precluded under res judicata and related principles of preclusion had this matter

24   proceeded to judgment on all claims in Plaintiffs’ Third Supplemental Complaint and the Tribe’s
25
     Fourth Amended Complaint. Plaintiffs and the Tribe covenant not to bring any judicial or
26
     administrative action or lawsuit under any federal, state, or local law or regulation against EPA
27
28   with regard to the foregoing.

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      CONSENT DECREE                        -6                              David J. Kaplan.
                                                                   United States Department of Justice
      Case No. C11-1759BJR                                           Environmental Defense Section
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            11)     Plaintiffs, the Tribe, and EPA agree that this Consent Decree is fair, reasonable,
 1
 2   and in the public interest. This Consent Decree was negotiated and executed in good faith and at

 3   arm’s length and is a fair and equitable compromise of disputed claims. This Consent Decree is
 4
     not and shall not constitute or be construed as an admission by EPA of any factual or legal
 5
     allegations made by Plaintiffs or the Tribe, an admission of liability, or an admission of any other
 6
 7   kind or character whatsoever by EPA. Neither this Consent Decree nor EPA’s performance

 8   under this Consent Decree is intended to have, and shall not be deemed to have, any evidentiary
 9
     or precedential effect in any other judicial or administrative action involving claims asserted
10
     against EPA.
11
12          12)     This Consent Decree shall be governed by and construed under federal law.

13          13)     The individuals signing this Consent Decree on behalf of Plaintiffs, the Tribe, and
14   EPA hereby certify that they are authorized to bind their respective party to this Consent Decree.
15
     This Consent Decree may be executed by multiple signature pages.
16
            14)     This Consent Decree shall be effective upon the date of its entry by the Court.
17
18          15)     The Consent Decree shall terminate when EPA has issued PCB TMDLs for the
19   impaired segments of the Spokane River, the Little Spokane River, and Lake Spokane (Long
20
     Lake) in Washington State as set forth in paragraph 1 above.
21
            16)     All deliverables, modifications, notices, notifications, and requests specified in
22
23   this Consent Decree must be in writing unless otherwise specified. Whenever, under this

24   Decree, notice is required to be given, or a document is required to be sent, by one Party to
25
     another, it must be directed to the person(s) specified below at the address(es) and email(s)
26
     specified below. Any Party may change the person and/or address applicable by providing
27
28   notice of such change to all Parties in writing or via email. All notices under this Decree are

29
      CONSENT DECREE                        -7                             David J. Kaplan.
                                                                  United States Department of Justice
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     effective upon receipt, unless otherwise specified. Except as otherwise provided, written notice
 1
 2   to a party by regular mail in accordance with this Decree satisfies any notice requirement of the

 3   Decree regarding such party.
 4
     As to EPA:
 5
     David J. Kaplan
 6   United States Department of Justice
 7   Environmental Defense Section
     P.O. Box 7611
 8   Washington D.C. 20044
     david.kaplan@usdoj.gov
 9
10   As Plaintiffs:

11   Marc Zemel
12   Richard Smith
     Smith & Lowney, PLLC
13   2317 E. John St.
     Seattle WA 98112
14   marc@smithandlowney.com
15   richard@smithandlowney.com

16   As to the Tribe:
17
     Ted C. Knight, Special Legal Counsel
18   Office of the Spokane Tribal Attorney
     Spokane Tribe of Indians
19   PO Box 100
20   Wellpinit, WA 99040
     Phone (509) 953-1908
21   tedk@spokanetribe.com
22          17)       This Consent Decree constitutes the final, complete, and exclusive agreement and
23
     understanding among the Parties regarding the settlement embodied in this Decree. The Parties
24
     acknowledge that there are no representations, agreements, or understandings relating to the
25
26   settlement other than those expressly contained in this Decree.
27          18)       Upon entry of this Consent Decree by the Court, this Decree shall constitute a
28
     final judgment between and among the Parties. The Court finds that there is no just reason for
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      CONSENT DECREE                         -8                            David J. Kaplan.
                                                                  United States Department of Justice
      Case No. C11-1759BJR                                          Environmental Defense Section
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     delay and, therefore, enters this judgment as a final judgment under Fed. R. Civ. P. 54 and 58.
 1
 2   This Court retains jurisdiction over this Consent Decree until it terminates pursuant to paragraph

 3   15.
 4
 5
            IT IS SO ORDERED, this 11th day of February, 2022.
 6
 7
 8                                         s/Barbara J. Rothstein
                                           Barbara Jacobs Rothstein
 9
                                           U.S. District Judge
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      CONSENT DECREE                       -9                             David J. Kaplan.
                                                                 United States Department of Justice
      Case No. C11-1759BJR                                         Environmental Defense Section
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     Signature Page for Consent Decree
 1
 2   FOR DEFENDANTS:

 3   Todd Kim
 4   Assistant Attorney General
     Environment & Natural Resources Division
 5
     /s/ David Kaplan             Dated: January 25, 2022
 6   David J. Kaplan
 7   Attorneys for Federal Defendants
     United States Department of Justice
 8   Environmental Defense Section
     P.O. Box 7611
 9
     Washington, DC 20044
10   (202) 514-0997
     David.kaplan@usdoj.gov
11
12   Nicholas W. Brown
     United States Attorney
13   Brian Kipnis
     Assistant United States Attorney
14   700 Stewart Street, Suite 5220
15   Seattle, WA 98101-1271

16   FOR PLAINTIFFS:
17
     /s/ Marc Zemel               Dated: January 25, 2022
18   Marc Zemel
     Richard Smith
19   Smith & Lowney, PLLC
20   2317 E. John St.,
     Seattle, WA 98112
21   (206) 860-2883
22   FOR PLAINTIFF-INTERVENOR THE SPOKANE TRIBE
23
24   /s/ Ted Knight                Dated: January 25, 2022
     Ted C. Knight
25   Special Legal Counsel
26   Office of the Spokane Tribal Attorney
     Spokane Tribe of Indians
27   PO Box 100
     Wellpinit, WA 99040
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     Phone (509) 953-1908
29   tedk@spokanetribe.com
      CONSENT DECREE                     - 10                         David J. Kaplan.
                                                             United States Department of Justice
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